               Case 2:10-cr-00191-JAM Document 76 Filed 09/01/11 Page 1 of 2


 1   BRUCE LOCKE (#177787)
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     Sacramento, CA 95825
 3   (916) 569-0667
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 4   Attorneys for
     TODD ALLEN SMITH
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-10-191 JAM
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION TO CONTINUE STATUS
10                                       )                CONFERENCE AND EXCLUDE TIME
           v.                            )                UNDER SPEEDY TRIAL ACT
11                                       )
     TODD ALLEN SMITH,         et al.,   )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendants, Darrin Johnston,
15   Todd Smith, and Cheryl Peterson, by and through their undersigned defense counsel, and the United
16   States of America by and through its counsel, Assistant U.S. Attorney Todd Pickles, that the status
17   conference presently set for September 6, 2011 at 9:30 a.m., should be continued to October 4, 2011
18   at 9:30 a.m., and that time under the Speedy Trial Act should be excluded from September 6, 2011
19   through October 4, 2011.
20          The reason for the continuance is that the defendants are continuing their investigation and
21   preparation of the matter for trial. There is substantial discovery and the issues are complicated.
22   Accordingly, the time between September 6, 2011 and October 4, 2011 should be excluded from the
23   Speedy Trial calculation pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv) and
24   Local Code T-4 for defense preparation.     The parties stipulate that the ends of justice served by
25   granting this continuance outweigh the best interests of the public and the defendants in a speedy
26   trial. 18 U.S.C. §3161(h)(7)(A). Mr. Pickles and the undersigned defense counsel have authorized
27   Mr. Locke to sign this pleading for them.
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29                                                    1
               Case 2:10-cr-00191-JAM Document 76 Filed 09/01/11 Page 2 of 2


 1
 2
 3   DATED: August 31, 2011                               /S/ Bruce Locke
                                                    BRUCE LOCKE
 4                                                  Attorney for Todd Smith
 5
     DATED: August 31, 2011                               /S/ Bruce Locke
 6                                                  For PATRICK HANLEY
                                                    Attorney for Darrin Johnston
 7
 8
     DATED: August 31, 2011                               /S/ Bruce Locke
 9                                                  For DOUGLAS BEEVERS
                                                    Attorney for Cheryl Peterson
10
11   DATED: August 31, 2011                            /S/ Bruce Locke
                                                    For TODD PICKLES
12                                                  Attorney for the United States
13
            The Court finds that the ends of justice served by granting this continuance outweigh the best
14
     interests of the public and the defendants in a speedy trial.
15
            IT IS SO ORDERED.
16
     DATED: September 1, 2011                       /s/ John A. Mendez
17                                                  UNITED STATES DISTRICT JUDGE
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